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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


MARK I. SOKOLOW, et al.,

                               Plaintiffs,
                                                      No. 04 Civ. 00397 (GBD) (RLE)
       vs.
                                                      NOTICE OF APPEAL
THE PALESTINE LIBERATION
ORGANIZATION, et al.,

                               Defendants.




       PLEASE TAKE NOTICE that plaintiffs Revital Bauer, individually; Eva Waldman; Oz

Joseph Guetta; Varda Guetta; Shaul Mandelkom; Nurit Mandelkom; and Estate of Stuart Scott

(“Yechezkel”) Goldberg, by Karen Goldberg, as personal representative, hereby appeal to the

United States Court of Appeals for the Second Circuit from the final judgment [DE 980] entered

October 1, 2015, and all orders adverse to said plaintiffs, including without limitation the

summary judgment order entered November 19, 2014 [DE 646], the bench ruling of January 12,

2014 [DE 831], and the order of dismissal entered August 31, 2015 [DE 963].

       PLEASE TAKE FURTHER NOTICE that all plaintiffs appeal from the final judgment

[DE 980] entered October 1, 2015, insofar as and to the extent that it was adverse to all plaintiffs,

and all orders adverse to plaintiffs, including without limitation that portion of the summary

judgment order entered on November 19, 2014 [DE 646] granting summary judgment in part in

favor of defendants, and the order of the District Court staying execution of the judgment and

denying prejudgment interest [DE 957], entered August 24, 2015.
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Dated: October 6, 2015                   Respectfully submitted,
       New York, New York                ARNOLD & PORTER LLP



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